Case 4:24-cv-00953-P    Document 96   Filed 02/19/25   Page 1 of 32   PageID 1179



                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION


 OUTSOURCING FACILITIES
 ASSOCIATION, et al.,

        Plaintiffs,

        v.                                       Case No. 4:24-cv-00953-P

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

        Defendants,

  and

 ELI LILLY AND COMPANY,

        Intervenor-Defendant.


          BRIEF AMICUS CURIAE OF NOVO NORDISK INC.
     IN SUPPORT OF DEFENDANTS/INTERVENOR-DEFENDANT

 Benjamin C. Block (admitted pro hac vice)    Trevor Carolan (SBN 24128898)
 Thomas Brugato (admitted pro hac vice)       BOWMAN AND BROOKE LLP
 Daniel G. Randolph (admitted pro hac vice)   5850 Granite Parkway, Suite 900
 COVINGTON & BURLING LLP                      Plano, TX 75024
 One City Center                              Tel: (972) 616-1700
 850 10th Street NW                           Fax: (972) 616-1701
 Washington, D.C. 20001
 Tel: (202) 662-6000
 Fax: (202) 662-6302
Case 4:24-cv-00953-P               Document 96             Filed 02/19/25             Page 2 of 32           PageID 1180



                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................. iii

INTEREST OF AMICUS CURIAE ....................................................................... 1

INTRODUCTION AND SUMMARY OF THE ARGUMENT ......................... 4

ARGUMENT ............................................................................................................... 7

I.       Unapproved compounded GLP-1 RA injectable drugs can pose
         substantial risks to patients. .............................................................................. 7

         A.       Compounded drugs pose distinct safety risks. ........................................ 7

         B.       Compounded GLP-1 RA drugs in particular can pose severe and
                  well-documented safety risks. ................................................................ 10

         C.       Compounders’ safety arguments are flawed. ........................................ 16

II.      FDA reasonably declined to credit unreliable data submitted by the
         compounding industry. ..................................................................................... 17

         A.       The compounding industry submissions are unreliable. ...................... 18

         B.       Localized supply disruptions do not equal a nationwide
                  shortage. ................................................................................................. 22

CONCLUSION ......................................................................................................... 23




                                                          —ii—
Case 4:24-cv-00953-P                 Document 96              Filed 02/19/25            Page 3 of 32            PageID 1181



                                        TABLE OF AUTHORITIES

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                                                            —iii—
Case 4:24-cv-00953-P                  Document 96               Filed 02/19/25              Page 4 of 32             PageID 1182



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                                                               —iv—
Case 4:24-cv-00953-P                 Document 96              Filed 02/19/25             Page 5 of 32            PageID 1183



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                                                             —v—
Case 4:24-cv-00953-P                 Document 96              Filed 02/19/25             Page 6 of 32            PageID 1184



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                                                             —vi—
Case 4:24-cv-00953-P                 Document 96              Filed 02/19/25            Page 7 of 32            PageID 1185




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                                                            —vii—
Case 4:24-cv-00953-P    Document 96     Filed 02/19/25    Page 8 of 32   PageID 1186



                       INTEREST OF AMICUS CURIAE

      Novo Nordisk Inc. (“Novo”) is a leading healthcare company, focused on driving

change to defeat serious chronic diseases like diabetes and obesity. The development

of semaglutide is an example of Novo Nordisk’s commitment to innovation for people

living with chronic diseases. Semaglutide is the foundational molecule that serves as

the primary ingredient for Novo Nordisk’s three prescription-only medicines

approved by the Food and Drug Administration (“FDA”): Ozempic® (semaglutide)

injection, Rybelsus® (semaglutide) tablets for adults with type 2 diabetes, and

Wegovy® (semaglutide) injection for chronic weight management. Like tirzepatide,

semaglutide is a long-half-life glucagon-like peptide-1 receptor agonist (“GLP-1 RA”).

This category of medicines activates a receptor that stimulates the release of insulin

and slows stomach emptying.

      Ozempic® and Wegovy® are the only “two injectable semaglutide products

FDA-approved for the U.S. market.”1 Ozempic® is currently indicated for several

uses, including use “to improve glycemic control in adults with type 2 diabetes,” “to

reduce the risk of major adverse cardiovascular events in adults with type 2 diabetes

and established cardiovascular disease,” and to reduce the risk of “end stage kidney

disease and cardiovascular death in adults with type 2 diabetes mellitus and chronic




1   FDA,     Approved     Label    for   NDA      209367     (Jan.  28,      2025),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2025/209637s025lbl.pdf; FDA,
Approved      Label       for     NDA       215256        (Nov.    1,        2024),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2024/215256s021lbl.pdf.


                                        —1—
Case 4:24-cv-00953-P      Document 96     Filed 02/19/25   Page 9 of 32   PageID 1187



kidney disease.”2 Wegovy® is currently indicated for several uses, including use “to

reduce the risk of major adverse cardiovascular events … in adults with established

cardiovascular disease” and “to reduce excess body weight” in children and adults

ages twelve and older.3

       Ozempic® and Wegovy® are sought-after and widely used medications that

have achieved name-brand recognition across the United States. FDA placed

Wegovy® and Ozempic® on the drug shortage list on March 31, 2022 and August 23,

2022, respectively,4 based on a determination by FDA for each drug that demand or

projected demand for certain doses of the drug within the United States exceeded the

supply of the drug doses.5 As of October 30, 2024, FDA listed all presentations of

Ozempic® and Wegovy® as fully “available.”6 Nevertheless, both drugs, grouped

together as “semaglutide injection,” currently are listed by FDA as “in shortage”;

Novo believes that FDA should list the shortage as resolved. 7

       Like tirzepatide, semaglutide is currently the subject of widespread knockoffs

by drug compounders, like Plaintiffs, who seek to maintain a “shortage” so that they




2 Approved Label for NDA 209367, supra n.1.

3 Approved Label for NDA 215256, supra n.1.

4FDA, FDA Drug Shortages, Semaglutide Injection, (Nov. 1, 2024) “Download
Current Drug Shortages,” https://perma.cc/Q8S7-D45F.
5 See 21 C.F.R. § 314.81(b)(3)(iii)(f).

6 FDA Drug Shortages, Semaglutide Injection, supra n.4.

7 In September 2023, FDA reorganized the drug shortage database by active
ingredient and route of administration, listing Wegovy® and Ozempic® under the
group “semaglutide injection.”


                                          —2—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25     Page 10 of 32    PageID 1188



 may continue to produce unsafe, unapproved purported knockoffs of FDA-approved

 GLP-1 RA medicines.

       Novo has a strong interest in ensuring that patients have access to safe,

 quality, FDA-approved GLP-1 RA medicines and that FDA correctly applies the drug-

 shortage provisions of the Federal Food, Drug, and Cosmetic Act (“FDCA”).

 Accordingly, Novo files this brief to provide insights regarding these important issues.




                                          —3—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 11 of 32    PageID 1189



           INTRODUCTION AND SUMMARY OF THE ARGUMENT

         For decades, FDA’s rigorous drug approval regime has been recognized as a

 global “gold standard.” FDA’s new-drug-approval process is “long, comprehensive,

 and costly.” FTC v. Actavis, Inc., 570 U.S. 136, 142 (2013). It requires drug

 manufacturers to demonstrate—through extensive research and testing over many

 years—that their medicines are safe and effective under the proposed conditions of

 use. See 21 U.S.C. § 355(d)(4). For example, to obtain FDA approval for its

 semaglutide injection medicines, Ozempic® and Wegovy®, Novo “undertook over 100

 phase II and III clinical trials . . . over the course of more than three decades,

 collecting more than 135,000 person-years of data.” 8 By one “conservative” estimate,

 Novo “invested well over $10 billion” in research and development. 9 Those efforts

 resulted in safe and effective medicines that have already benefited millions of

 patients nationwide.

         By contrast, Plaintiffs have not made any remotely comparable investments—

 through clinical research or otherwise—to demonstrate the safety and efficacy of their

 compounded knockoff products. They have not obtained FDA approval for those

 drugs. Instead, Plaintiffs seek to perpetuate a declared drug shortage even after the

 actual shortage has been resolved to try to exploit a narrow exception to the statutory




 8 See Testimony of Lars Fruergaard Jørgensen, Hearing before the S. Comm. on
 Health, Educ., Labor and Pension at 11, 118th Cong. (Sept. 24, 2024),
 https://perma.cc/LK8Y-LJD6.
 9 Id.



                                         —4—
Case 4:24-cv-00953-P     Document 96      Filed 02/19/25     Page 12 of 32    PageID 1190



 requirement that a new drug can only be marketed in the United States with FDA’s

 approval.

       That gambit should be rejected for what it is—an effort to circumvent the “gold

 standard” of FDA approval and thereby mass market unsafe and unapproved drugs

 nationwide, with no end in sight. Plaintiffs’ motion for a preliminary injunction to

 continue a “shortage” that no longer exists rests on a series of factual and legal errors.

 This brief addresses two of Plaintiffs’ most substantial misstatements.

       First, Plaintiffs assert (at 2) that “[a]n injunction is required to protect

 patients.” The opposite is true: Patients would likely be harmed if this Court were to

 enjoin FDA’s shortage decision and greenlight further compounding. Compounded

 drugs do not have the same rigorous safety, efficacy, and quality assurances as FDA-

 approved drugs. For these reasons, FDA has warned that compounded drugs “may

 expose patients to potentially serious health risks . . . [including] serious patient

 injury and death.”10 The Agency—like other health regulators, medical professional

 associations, and obesity advocacy groups—has also explicitly cautioned patients and

 providers that turning to unapproved versions of GLP-1 RA medicines “can be risky

 for patients.”11 FDA has observed dosing errors associated with compounded GLP-1



 10 FDA, Compounding and the FDA: Questions and Answers (Nov. 15, 2024),
 https://www.fda.gov/drugs/human-drug-compounding/compounding-and-fda-
 questions-and-answers.
 11 FDA, FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss (Dec.
 18, 2024), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-
 and-providers/fdas-concerns-unapproved-glp-1-drugs-used-weight-loss      (“FDA’s
 Concerns”); FDA, FDA Alerts Health Care Providers, Compounders and Patients of
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 (continued…)


                                           —5—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 13 of 32    PageID 1191



 RA drugs and counterfeits being marketed to consumers. 12 In addition, compounded

 GLP-1 RA drugs can pose patient risks because compounders make their knockoff

 drugs with different methods than approved manufacturers. For example, whereas

 the semaglutide in Ozempic® and Wegovy® is produced using recombinant DNA

 technology, the vast majority of compounders use a synthetically-produced alleged

 version of semaglutide for their knockoff formulations. These processing differences

 result in different impurity profiles across the products, which can pose significant

 safety and efficacy risks. Given these risks and uncertainties, medical professionals

 have called the mass-marketing of compounded GLP-1 RA drugs “the largest

 uncontrolled, unconsented human experiment of our lifetime.” 13

       Second, Plaintiffs accuse FDA of dismissing “evidence” that (Plaintiffs contend)

 suggests that there is still a tirzepatide shortage. See Pls.’ Br. 21–23. But virtually

 all the information that Plaintiffs identify was, as FDA recognized, wholly unreliable.

 For example, Plaintiffs point to alleged “patient reports,” see Pls.’ Br. 20, but those

 came from online reporting systems without any meaningful data integrity controls.

 One platform allowed anyone to report “trouble” getting medication at any time “in

 the past”; collected no details regarding the nature of the patient’s purported access




 26, 2024), https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-
 care-providers-compounders-and-patients-dosing-errors-associated-compounded
 (“Dosing Errors”).
 12 FDA’s Concerns, supra n.11.

 13 Sam Koppelamn, et al., Hims & Hers Selling GLP-1 Injection That’s Not FDA

 Approved, From Shady Supplier—And Won’t Make You Talk to a Doctor to Get It
 (June 27, 2024), https://perma.cc/Z2S6-2T3X.


                                         —6—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 14 of 32     PageID 1192



 challenges; and apparently allowed the same individual to submit duplicative

 reports. Plaintiffs also rely on “screenshots” purporting to show unavailability of

 approved drugs, but many are undated, lack any information about the would-be

 buyer, and/or simply show distributor-imposed ordering restrictions. In any event,

 FDA rightly concluded that localized supply disruptions may exist even when there

 is not a nationwide drug shortage.

       This Court should deny Plaintiffs’ motion.

                                      ARGUMENT

 I.    Unapproved compounded GLP-1 RA injectable drugs can pose
       substantial risks to patients.

       “[T]he public interest is disserved by a drug that does not afford adequate

 protections to its users.” All. for Hippocratic Med. v. FDA, 78 F.4th 210, 253 (5th Cir.

 2023), overruled on other grounds, 602 U.S. 367, 397 (2024). Patients would be placed

 at risk if this Court were to enjoin FDA’s decision and greenlight exposing patients

 to further mass compounding of unapproved drugs. An overwhelming body of

 evidence confirms that compounded drugs—and compounded GLP-1 RA injectable

 drugs in particular—pose significant risks to the health and wellbeing of patients.

       A.     Compounded drugs pose distinct safety risks.

       As a class, “compounded drugs pose a higher risk than FDA-approved”

 medicines.14 As FDA has explained, compounded drugs are not verified for “safety,




 14 FDA, Compounding when Drugs are on FDA's Drug Shortages List (Dec. 18, 2024),

 https://www.fda.gov/drugs/human-drug-compounding/compounding-when-drugs-
 are-fdas-drug-shortages-list.


                                          —7—
Case 4:24-cv-00953-P      Document 96      Filed 02/19/25    Page 15 of 32   PageID 1193



 effectiveness or quality,” by FDA and thus “may expose patients to potentially serious

 health risks . . . [including] serious patient injury and death.”15

       Compounded drugs carry distinct risks because they are not subject to rigorous

 premarket review and approval standards, nor robust post-market monitoring and

 reporting requirements. Unlike FDA-approved medicines, compounded drugs do not

 undergo FDA’s gold standard, new drug approval process. See 21 U.S.C. §§ 353a(a),

 353b(a). Among other requirements to obtain FDA approval, manufacturers must

 show that their medicines are “safe for use” and that there is “substantial evidence

 that the drug[s] will have the effect [they] purport[] or [are] represented to have.” 21

 U.S.C. § 355(d)(4); see also 21 C.F.R. § 314.125(b). FDA-approved medicines must

 undergo human clinical trials, across multiple, escalating phases. 21 U.S.C. § 355(d);

 Abigail All. for Better Access to Developmental Drugs v. von Esenbach, 495 F.3d 695,

 698 (D.C. Cir. 2007) (en banc). Manufacturers must also submit for FDA’s review “the

 methods used in, and the facilities and controls used for, the manufacture, processing,

 and packing” of the drug and submit to a premarket inspection if requested by FDA.

 21 U.S.C. § 355(b)(1)(A)(iv); 21 C.F.R. § 314.50(d)(1)(ii).16

       Compounders undergo none of this review. And compounders’ finished drugs

 are subject to little to no post-marketing requirements, including far less extensive—




 15 Compounding and the FDA: Questions and Answers, supra n.10.

 16
   FDA, Guidance for Industry: Identification of Manufacturing Establishments in
 Applications   Submitted    to  CBER      and    CDER,    7   (October   2019),
 https://www.fda.gov/media/131911/download.


                                           —8—
Case 4:24-cv-00953-P    Document 96      Filed 02/19/25   Page 16 of 32    PageID 1194



 if any—pharmacovigilance requirements than FDA-approved medicines. 17 Unlike

 compounders, manufacturers of approved new drugs must submit detailed post-

 approval reports including changes to manufacturing techniques, samples of

 advertising, post-approval studies, and all adverse events potentially associated with

 the medicine—even unserious and expected events. See 21 C.F.R. §§ 314.80, 314.81.

       The resulting risks flowing from these unapproved, loosely-monitored

 compounded drugs are not hypothetical. Compounded drugs have been responsible

 for some of the most serious drug-related public health emergencies in the nation’s

 recent history. In 2012, for example, injectable drugs compounded in Massachusetts

 and contaminated with fungal meningitis sickened more than 750 patients and killed

 as many as 100 in the United States. 18 In the aftermath, the Senate Health

 Committee issued a report finding that “48 other compounding companies were …

 producing drugs that were either unsafe or were made in unsafe environments.” 113

 Cong. Rec. S8074 (Nov. 18, 2013).

       Although Congress took action in response—passing the Drug Quality and

 Security Act of 2013 to place further limits on compounders, Pub. L. No. 113-54, 127

 Stat. 587 (2013) (codified at various provisions including 21 U.S.C. § 353b)—the risks



 17 Compounding pharmacies operating under 21 U.S.C. § 353a have no adverse event
 reporting requirements.
 18 U.S. Dep’t of Justice, U.S. Att’y’s Office, D. Mass, Former Owner of Defunct New

 England Compounding Center Resentenced to 14 Years in Prison in Connection with
 2012 Fungal Meningitis Outbreak (July 7, 2021), https://www.fda.gov/inspections-
 compliance-enforcement-and-criminal-investigations/press-releases/former-owner-
 defunct-new-england-compounding-center-resentenced-14-years-prison-connection-
 2012.


                                         —9—
Case 4:24-cv-00953-P    Document 96      Filed 02/19/25   Page 17 of 32    PageID 1195



 that compounding poses to the public have endured. In 2017, at least forty-three

 patients undergoing cataract surgery at a Texas clinic suffered vision loss after

 receiving postoperative injections of a compounded mixture of steroids and

 antibiotics.19 Just last summer, in August 2024, a Pennsylvania-based compounder

 recalled thousands of vials of compounded semaglutide and tirzepatide that lacked

 assurances of sterility and had been destined for nationwide distribution to

 consumers.20 An inspection revealed significant quality lapses: insects in supposedly

 sterile areas; drugs of the wrong potency; drugs showing turbidity (a sign of

 biocontamination); and labels that failed to inform patients that they were receiving

 unapproved compounded drugs or even to identify the dosage. 21

       B.     Compounded GLP-1 RA drugs in particular can pose severe and well-
              documented safety risks.

       The health risks associated with compounded drugs are especially severe when

 it comes to compounded knockoffs of GLP-1 RA medicines, including tirzepatide and

 semaglutide. FDA and other health authorities worldwide have repeatedly issued

 public warnings regarding these dangers. For example, the Australian government




 19 FDA, FDA Alerts Health      Care Professionals of Adverse Events Associated with
 Guardian’s Compounded Triamcinolone and Moxifloxacin Product for Intravitreal
 Injection (July 28, 2017), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
 alerts-health-care-professionals-adverse-events-associated-guardians-compounded-
 triamcinolone.
 20 FDA, Enforcement Report—Week of September 11, 2024 (Sep. 11, 2024),
 https://perma.cc/SBX6-N7HJ.
 21  FDA, Inspectional Observations of ProRx LLC (Aug. 2, 2024),
 https://www.fda.gov/media/182243/download?attachment (containing 13 pages of
 observed violations).


                                        —10—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25     Page 18 of 32    PageID 1196



 has banned the compounding of GLP1-RA drugs, including semaglutide and

 tirzepatide, given the “clear risk to human health.” 22 Health regulators in South

 Africa have warned the public against using compounded GLP-1 RA drugs, citing the

 risk to patient and the public health posed by substandard compounded formulations

 of these complex medicines.23 And at least fourteen state boards of pharmacy or

 medicine have warned about the dangers of using compounded GLP-1 RA drugs. 24 So


 22 Press Release, Hon. Mark Butler MP, Gov’t of Austl., Dep’t of Health and Aged

 Care, Protecting Australians from Unsafe Compounding of Replica Weight Loss
 Products (May 22, 2024), https://www.health.gov.au/ministers/the-hon-mark-butler-
 mp/media/protecting-australians-from-unsafe-compounding-of-replica-weight-loss-
 products?language=en.
 23 Press Release, South African Health Prods. Regul. Auth. (SAHPRA), SAHPRA’s

 Position on GLP1 and GIP-GLP1 Products That Are Compounded, Substandard and
 Falsified (Nov. 8, 2024), https://perma.cc/45AS-USY7. Health regulators in Ireland
 have similarly warned patients about GLP-1 RA drugs sold online, stating “there can
 be no guarantees as to what substances these online products actually contain and
 taking them poses a significant risk to consumers’ health.” Press Release, Gov’t of Ir.,
 Health Prods. Regul. Auth. (HPRA), HPRA Warns of Health Risks of Semaglutide
 Type Products Sold Illegally Online (Nov. 26, 2024), https://perma.cc/L9S6-M53G.
 24 See N.J. Bd. Pharmacy, Statement Concerning Semaglutide Compounding (Nov. 6,
 2023), https://perma.cc/9TF2-KTK3; N.C. Bd. Pharmacy, Statement Concerning
 Semaglutide Compounding (Apr. 2023), https://perma.cc/MS5M-TDNS; Miss. Bd.
 Pharmacy, Compounded Products Due to Shortage or Due to Special Patient Needs,
 https://perma.cc/RW3E-5YHU; Ala. Bd. Pharmacy, Compounding Semaglutide (Nov.
 2023), https://perma.cc/Z4N6-7YVC; Health Professions Bureau of the Idaho Div. of
 Occupational and Professional Licenses, Clinic Dispensing of GLP-1 Products (May
 24, 2024), https://perma.cc/T6LZ-REJD; Kan. Bd. Pharmacy, Statement on
 Compounding and Dispensing of Compounded Semaglutide and Other GLP-1
 Receptor               Agonists            (Apr.             25,           2024),
 https://www.pharmacy.ks.gov/home/showpublisheddocument/8084/63858706940803
 0000; Ky. Bd. Pharmacy, Semaglutide Compounding Guidance (Jun. 2023),
 https://perma.cc/CKP8-N369; S.D. Bd. Pharmacy, Beware of Fraud and Counterfeit
 Popular Weight Loss Products (Jan. 2024), https://perma.cc/4VUP-WL8S; Oregon Bd.
 Pharmacy, Statement on Semaglutide (Feb. 6, 2025), https://perma.cc/2MGL-H29A;
 Wash. State Department of Health, Statement on Compounding Semaglutide (Aug.
 22, 2024), https://perma.cc/B427-6G92; W. Va. Bd. Pharmacy, Statement Concerning
 Semaglutide Compounding (Apr. 2023), https://perma.cc/3YPL-EU3D; Meg Farris,
 (continued…)


                                         —11—
Case 4:24-cv-00953-P    Document 96     Filed 02/19/25    Page 19 of 32   PageID 1197



 have medical professional associations, like the American Diabetes Association: “The

 ADA recommends against using non-FDA-approved compounded GLP-1 … due to

 safety, quality, and effectiveness concerns and uncertainty about their content.” 25

 And leading obesity expert organizations have publicly recommended that patients

 avoid compounded GLP-1 RA drugs because they “are not the same as the drug

 provided by the manufacturers” and can pose “serious health risks.” 26

       These bans and warnings are grounded in evidence confirming that GLP-1 RA

 drugs have characteristics that make them particularly risky to compound. GLP-1

 RAs belong to a class of molecules called peptides—large, difficult-to-synthesize

 molecules that interact with the human body in complex ways—which pose unique

 safety and efficacy concerns when compounded. 27 Notwithstanding these risks,

 compounders source the active ingredients in these compounded drugs from suppliers

 that manufacture the active ingredients in ways that differ from the semaglutide in




 Low-cost Weight Loss Drug Banned in La., 4WWL (Apr. 27, 2023),
 https://perma.cc/QUT9-JVDZ; Miss. Bd. Of Medical Licensure, Guidance Regarding
 Semaglutide-Based Medications From the Mississippi State Board of Medical
 Licensure (Aug. 29, 2023), https://perma.cc/UX8Z-FKRQ; Ala. State Bd. of Medical
 Examiners, Declaratory Ruling of the Alabama State Board of Medical Examiners
 (Aug. 8, 2024), https://perma.cc/8ALK-4KVA.
 25 Joshua J. Neumiller et al., Compounded GLP-1 and Dual GIP/GLP-1 Receptor

 Agonists: A Statement from the American Diabetes Association, 48 Diabetes Care
 177—181 (Feb. 2025), https://perma.cc/HK8D-8HTB.
 26 The Obesity Society, Obesity Action Coalition, & Obesity Med. Ass’n, Leading

 Obesity Expert Organizations Release Statement to Patients on Compounded GLP-1
 Alternatives (Jan. 9, 2024), https://perma.cc/BV57-CJCP.
 27 See FDA, ANDAs for Certain Highly Purified Synthetic Peptide Drug Products That

 Refer to Listed Drugs of rDNA Origin: Guidance for Industry (May 2021),
 https://www.fda.gov/media/107622/download.


                                        —12—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 20 of 32   PageID 1198



 FDA-approved versions. For example, Novo manufactures semaglutide for its

 medicines through recombinant DNA technology based on a polypeptide precursor

 expressed from yeast—the technique that FDA evaluated when it approved

 Ozempic® and Wegovy®.28 But compounders rely on semaglutide produced via a

 different method: chemical synthesis. FDA has not approved any semaglutide

 medicines in which the semaglutide was manufactured by chemical synthesis—and

 this process can introduce new and different impurities. 29

       Even in small quantities, these impurities can negatively and significantly

 impact the safety and efficacy of a drug product.30 Immune responses to peptide

 impurities can include, among others, life-threatening anaphylaxis, fever, rash,

 tissue inflammation and “central nervous system complications.” 31 Furthermore, the

 neutralizing antibodies created by the immune response to these impurities can lead

 to a loss of efficacy and therapeutic options: most concerning, after using compounded

 drugs, a patient’s body may reject not only compounded semaglutide, but potentially



 28 See U.S. Patent No. 10,335,462, Use of Long-Acting GLP-1 Peptides; U.S. Patent

 Appl. 20100317057, Semi-Recombinant Preparation of GLP-1 Analogues; U.S. Patent
 No. 11,759,501, Compositions of GLP-1 Peptides and Preparation Thereof; European
 Medicines Agency, Summary of Ozempic® Assessment Report (Dec. 14, 2017),
 https://perma.cc/495Z-HLKL.
 29 Morten Hach et al., Impact of Manufacturing Process and Compounding on
 Properties and Quality of Follow-on GLP-1 Polypeptide Drugs, Pharm. Rsch., Table
 IV at 7–8. (Oct. 8, 2024).
 30 See ANDAs for Certain Highly Purified Synthetic Peptide Drug Products, supra
 n.28, at 2, 4 (acknowledging that, “peptide-related impurities, may affect the safety
 or effectiveness of a peptide drug product” and increase “the potential for
 immunogenicity”).
 31 FDA, Guidance for Industry: Immunogenicity Assessment for Therapeutic Protein

 Products, 4–5 (Aug. 2014), https://www.fda.gov/media/85017/download.


                                        —13—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 21 of 32    PageID 1199



 FDA-approved GLP-1 RA medicines and even naturally-occurring GLP-1. 32 Losing

 the option to secure treatment from an FDA-approved GLP-1 RA medicine is a severe

 outcome given the indications for GLP-1 RA medicines like Ozempic®, which reduces

 the risk of major cardiovascular events, cardiovascular death, and end-stage kidney

 disease.33

       In addition, as FDA has warned the public, compounded GLP-1 RA drug

 products pose “dosing concerns,” due to lack of labeling, prescriber and patient error,

 and compounders offering unapproved dosages.34 Both FDA and researchers have

 found “overdoses … associated with compounded semaglutide,” involving patients

 provided with self-injection kits administering doses up to twenty times greater than

 approved amounts, resulting in hospitalization. 35 In comparison, FDA-approved

 injectable medicines like Wegovy® and Mounjaro® are sold in pre-filled pens that

 deliver a preset dose and that bear FDA-approved labeling. 36

       Making matters worse, the widespread false, misleading, and deceptive

 advertising practices by the compounding industry has made it next to impossible for

 consumers to understand the differences between approved brand-name medicines




 32 See ANDAs for Certain Highly Purified Synthetic Peptide Drug Products, supra

 n.28, at 5–6, 8, 21–22, 33–34.
 33 Approved Label for NDA 209367, supra n.1.

 34 FDA’s Concerns, supra n.11.

 35 Dosing Errors, supra n.11.

 36 FDA’s Concerns, supra n.11.



                                         —14—
Case 4:24-cv-00953-P    Document 96      Filed 02/19/25   Page 22 of 32    PageID 1200



 and unapproved compounded knockoffs.37 Consumers are being bombarded by

 rampant online and other media advertising sponsored by the compounding industry

 to generate artificial demand for compounded GLP-1 RA drugs, including for

 unindicated uses like cosmetic weight loss.38 One study of websites advertising

 compounded GLP-1 RA drugs found that half failed to disclose warnings, precautions,

 or contra-indications for compounded GLP-1 RA drugs.39 Forty percent made

 unauthorized efficacy claims. 40 And dozens of websites either failed to disclose that

 the drugs they sold were compounded, or falsely implied that they were FDA-

 approved brand or FDA-approved generic medicines. 41 In light of these deceptions,

 the former director of Massachusetts General Hospital’s Weight Center has described

 the mass-marketing of compounded GLP-1 RA’s as “the largest uncontrolled,

 unconsented human experiment of our lifetime.” 42 By broadly disseminating




 37 See Ashwin K. Chetty et. al., Online Advertising of Compounded Glucagon-Like-

 Peptide-1 Receptor Agonists, 6 JAMA Health Forum e245018 (Jan. 17, 2025) (finding
 that eleven websites selling compounded GLP-1s did not disclose the medicines for
 sale were compounded, seven websites incorrectly stated that compounded GLP-1s
 were generic, and twenty-nine websites stated or implied these drugs were FDA-
 approved).
 38 Rena M. Conti, et al, Marketing and Safety Concerns for Compounded GLP-1
 Receptor Agonists, 6 JAMA Health Forum e245015 (Jan. 17, 2025) (“To capitalize on
 demand, several companies have launched marketing campaigns and have engaged
 ‘patient influencers’ to promote weight-loss programs.”).
 39 Online Advertising of Compounded GLP-1, supra n.38.

 40 Id.

 41 Id.

 42Hims & Hers Selling GLP-1 Injection That’s Not FDA Approved, From Shady
 Supplier, supra n.13.


                                        —15—
Case 4:24-cv-00953-P    Document 96      Filed 02/19/25   Page 23 of 32    PageID 1201



 potentially dangerous knockoffs of FDA-approved drugs, compounders put unwitting

 Americans at risk.

       C.     Compounders’ safety arguments are flawed.

       Ignoring the dangers that compounded drugs pose, Plaintiffs and their amicus,

 Ivim Health, offer misleading arguments about the impact of injunctive relief on

 patient safety. Plaintiffs claim that FDA has received fewer adverse events reports

 associated with the compounders’ knockoff tirzepatide drugs than the FDA-approved

 tirzepatide medicines. Pls.’ Br. 25. But that comes as no surprise: Because they exist

 outside of the gold-standard regime, adverse events associated with compounded

 drugs are chronically underreported, as FDA itself has stated. 43 Unlike sponsors of

 FDA-approved medicines, compounding pharmacies like Plaintiff FarmaKeio are not

 required to engage in surveillance, evaluation, or reporting of adverse events to

 FDA.44 Outsourcing facilities are only required to report adverse events that are

 serious and unexpected.45

       Amicus Ivim Health argues that patients will be harmed by abruptly

 discontinuing GLP-1 RA medicines. Ivim Br. 14–17. But Ivim’s position simply

 assumes that FDA is wrong that Lilly’s supply of tirzepatide medicines “will meet or



 43 Janet Woodcock and Julie Dohm, Toward Better-Quality Compounded Drugs — An

 Update from the FDA, 377 New Eng. J. Med. 2509, 2510 (2017); see also FDA’s
 Concerns, supra n.11 (“[I]t is likely that adverse events from compounded versions of
 these drugs are underreported.”).
 44 FDA’s Concerns, supra n.11.

 45 FDA, Guidance for Industry: Adverse Event Reporting for Outsourcing Facilities

 Under Section 503B of the Federal Food, Drug, and Cosmetic Act (Oct. 2015),
 https://www.fda.gov/media/90997/download.


                                        —16—
Case 4:24-cv-00953-P       Document 96    Filed 02/19/25    Page 24 of 32     PageID 1202



 exceed projected demand.” App. 18. Ivim also wrongly claims that in the absence of

 compounding, patients will turn to counterfeit GLP-1 RA drugs. Ivim Br. 18.

 Counterfeit GLP-1 RA drugs are already being illegally marketed online to unwitting

 consumers.46 And the presence of widespread compounding increases, rather than

 mitigates, the risk of patient exposure to counterfeit GLP-1 RA drugs. The heavily-

 advertised availability of largely unregulated compounded product via online sales

 platforms confuses patients, who are put in the impossible position of discerning

 between compounded and counterfeit products. 47 Moreover, Novo has uncovered

 examples of compounded “semaglutide” containing no semaglutide at all. 48

 II.    FDA reasonably declined to credit unreliable data submitted by the
        compounding industry.

        Plaintiffs repeatedly accuse FDA of “waving away” evidence submitted by the

 compounding industry. Pls.’ Br. 4; see also id. at 4–6, 19–23. This ipse dixit ignores

 both FDA’s reasoning, App. 33–46, as well as the patently apparent deficiencies with

 Plaintiffs’ “evidence.”

        Under the Administrative Procedure Act, federal agencies must make

 decisions using reliable, relevant data. Indeed, “it is an agency’s duty to establish the




 46 FDA’s Concerns, supra n.11.

 47 Marketing and Safety Concerns for Compounded GLP-1, supra n.39 (“[C]ounterfeit

 products are now entering into the US supply chain. . . . Nearly half of online
 pharmacies offering semaglutide may be operating illegally, operating nondelivery
 scams, or providing products that do not meet quality standards.).
 48 See, e.g., Compl. ¶ 9, Novo Nordisk Inc. v. Brooksville Pharms. Inc., No. 8:23-cv-

 01503 (M.D. Fla. Jul. 6, 2023) (“Defendant markets and sells to patients certain drug
 products that purport to contain ‘semaglutide.’”).


                                         —17—
Case 4:24-cv-00953-P     Document 96      Filed 02/19/25     Page 25 of 32    PageID 1203



 statistical validity of the evidence before it prior to reaching conclusions based on that

 evidence.” St. James Hosp. v. Heckler, 760 F.2d 1460, 1467 n.5 (7th Cir. 1985); see

 also Friends of Boundary Waters Wilderness v. Bosworth, 437 F.3d 815, 826–28 (8th

 Cir. 2006) (agency decision that relied on “unreliable and faulty survey data” was

 arbitrary and capricious). Further, it is arbitrary and capricious for an agency to rely

 on data that is “irrelevant” to the determination at issue. Texas v. Becerra, 575 F.

 Supp. 3d 701, 721 (N.D. Tex. 2021).

       Attacking FDA’s determination that tirzepatide is not in shortage, Plaintiffs

 argue FDA should have ignored national manufacturer data and instead credited a

 smattering of screenshots, news reports, and selective survey responses purportedly

 showing that some patients have had difficulty accessing Lilly’s FDA-approved

 medicines. Pls.’ Br. 19. FDA reasonably found that this information had “important

 limitations” that rendered it unreliable. App. 19; see also App. 33–46. In any event,

 uncorroborated compounder-generated information purportedly showing localized

 supply chain disruptions in no way demonstrates that there is a nationwide shortage

 of a drug and is thus irrelevant.

       A.     The compounding industry submissions are unreliable.

       Unsurprisingly, most of the information that Plaintiffs cite came directly or

 indirectly from the compounding industry. App. 33. For example, Hims & Hers, an

 online telehealth pharmacy, submitted alleged patient “reports” purporting to show

 patient access problems for approved GLP-1 RA medicines. App. 99–100; App. 133–

 34. What Hims & Hers doesn’t disclose is that, since FDA’s shortage declaration, it

 has been driving significant sales revenue by engaging in rampant, irresponsible

                                          —18—
Case 4:24-cv-00953-P     Document 96       Filed 02/19/25    Page 26 of 32    PageID 1204



 marketing of compounded GLP-1s.49 Only weeks ago, it ran a minute-long Super Bowl

 ad for compounded GLP-1 RA drugs (at $15 million for air time alone) that failed to

 disclose any side effects whatsoever or many of the unique safety risks—like overdose

 and contamination—posed by compounded drugs. 50 Other submitters, including

 Plaintiffs, are compounding pharmacies, outsourcing facilities, and trade associations

 representing their interests. A single compounding pharmacy—like Plaintiff

 FarmaKeio—can make millions of dollars each month selling compounded tirzepatide

 under the auspices of FDA’s shortage declaration. Pls.’ Br. 23.

       These members of the compounding industry submitted two main categories

 of “information” to FDA: (1) purported “patient reports” of consumers being unable

 “to access name-brand GLP-1” medicines, and (2) screenshots of pharmacy ordering

 portals depicting “limited availability” of FDA-approved GLP-1 RA medicines. See,

 e.g., App. 98–101. Neither is reliable.

       Patient Reports. Plaintiffs rely on “patient reports” gathered by compounders

 and telehealth companies like Hims & Hers. See Pls.’ Br. 20; App. 98–101; App. 132–

 35. For example, Hims & Hers provided reports submitted through an online form

 that is open to “[a]nyone who has had trouble getting access to a GLP-1 medication

 in the past.” App. 34. All individuals have to do is identify their state of residence and



 49 Dani Blum, Millions Will See This Super Bowl Ad. Health Experts (and Two
 Senators)     Aren’t    Pleased,     N.Y.      Times      (Feb.     7,    2025)
 https://www.nytimes.com/2025/02/07/well/hims-hers-health-super-bowl-ad.html.
 50 Id.; see also, Nick Brinkerhoff, How Much is a Super Bowl Commercial? Everything

 to Know About 2025 Ads, U.S.A. Today, (Feb. 3, 2025), https://perma.cc/5FL2-VG9U
 ($7–8 million per 30 seconds of airtime).


                                           —19—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25     Page 27 of 32   PageID 1205



 what GLP-1 RA medicine and dose they “were . . . trying to get.” 51 This online

 reporting system is not restricted by date—inviting patients who “had trouble” getting

 medication anytime “in the past” to submit responses—and it does not collect any

 date information apart from the date of submission, meaning that a patient’s

 purported difficulty accessing the drug could be based on a now-resolved experience

 from months or even years in the past. Nor does the system collect any details

 regarding the nature of the patient’s particular access challenges—let alone define

 what it means to have “trouble accessing” the GLP-1 medication.

       FDA reasonably concluded that this information (and similar information)

 provided an “inadequate,” unreliable basis for finding a continued shortage. App. 35.

 As FDA pointed out, nebulous reports that a patient had trouble accessing FDA-

 approved GLP-1 RA medicines do not inform the agency “what kind of challenges the

 individuals actually experienced.” App. 35. These reports could easily refer to access

 barriers irrelevant to demand, like “an inability to get a prescription from a doctor

 based on the doctor’s medical judgment, or an inability to get insurance coverage.”

 App. 35. And, FDA observed, none of the compounders who collected patient reports

 described “any controls they may have established to ensure the integrity of the data,”

 such as ensuring that individuals did not submit multiple reports, making the

 “results” potentially biased and unrepresentative. App. 35.




 51   Hims,   Hims    GLP-1     Supply     Tracker        (visited   Feb.   7,   2025),
 https://www.hims.com/weight-loss/supply-tracker.


                                         —20—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 28 of 32    PageID 1206



       Screenshots. Plaintiffs and others submitted screenshots purporting to show

 unavailability or ordering restrictions in distributor sales portals. App. 36–37. These

 screenshots vary widely. Generally, they show search results for FDA-approved GLP-

 1 RA medicines within online ordering portals where a pharmacy might purchase

 these medicines. See, e.g., App. 138–72. Some show distributor-imposed ordering

 restrictions. See, e.g., App. 154–59 (two-daily cap on tirzepatide products). Others

 show hundreds of vials of approved medicines for sale. See, e.g., App. 149; App. 166–

 67. Most do not indicate who the would-be buyer is or the nature of their relationship

 with the distributor. Many are undated. See, e.g., App. 168–70.

       FDA reviewed these screenshots and explained that they often lacked critical

 information, like dates. App. 36–37. FDA found that, given these limitations,

 compounders’ screenshots failed to “undermine[] or outweigh[] the information”—

 national-level data—“provided by Lilly.” App. 37. At most, they reflected

 “disconnected individual ‘snapshots’ in time,” App. 38, submitted by parties with no

 incentive to include countervailing examples in which FDA-approved medicines were

 available for purchase. Because FDA properly viewed these compounder-submitted

 data as unreliable, the agency was required not to ground its decision on those

 submissions.

       Other Information. Other data submitted by compounders had similar flaws,

 which FDA thoroughly considered in its decision memorandum. App. 33–46. For

 example, FDA explained that it received news “articles and blog posts” from OFA

 stating that certain GLP-RA medicines are in shortage. App. 38; see App. n.99



                                         —21—
Case 4:24-cv-00953-P     Document 96     Filed 02/19/25    Page 29 of 32    PageID 1207



 (identifying OFA as source of news articles reviewed). And Plaintiffs continue to cite

 some of these articles in their motion. See, e.g., App. 67–72. But these press reports—

 including an October 2024 press statement by a compounder facing a lawsuit from

 Lilly, and an uncited assertion in an opinion piece in a student newspaper—have

 none of the hallmarks of reliable sources. And certainly they are not a basis to ignore

 nationwide manufacturer data showing that supply exceeds demand.

       B.     Localized supply disruptions do not equal a nationwide shortage.

       In addition to being unreliable, the information submitted by the compounding

 industry is largely irrelevant because it addresses the wrong question. At most, the

 compounder data indicates that there may have been localized access issues for

 particular pharmacies and patients. But a drug is only in shortage “when the demand

 or projected demand for the drug within the United States exceeds the supply of the

 drug.” 21 U.S.C. § 356c(h)(2) (emphasis added); see also App. 20 (shortage exists when

 “on a nationwide level, across the entire market,” “the demand or projected demand

 for the drug within the United States exceeds the supply of the drug”) (emphasis

 added).

       There are many reasons why a drug may be unavailable at particular

 pharmacy locations even when the drug is broadly available nationwide. For example,

 wholesalers—which move product between manufacturers and local distributors like

 pharmacies—may implement allocation processes that apportion product amongst

 buyers based on several factors, often including previous sales data. These processes

 can help increase patient access by ensuring that opportunistic buyers do not hoard

 or arbitrage product. But a distributor-imposed allocation might also mean that

                                         —22—
Case 4:24-cv-00953-P    Document 96      Filed 02/19/25    Page 30 of 32    PageID 1208



 product is unavailable to a specific pharmacy at a particular time: For example, a

 pharmacy may not be able to get a product on allocation immediately if it has never

 ordered the product before. This would appear in that pharmacy’s distribution portal

 as though there is no product (or limited product) available, see, e.g., App. 138–39

 (limiting unknown buyer to two orders of various tirzepatide products); App. 154–59

 (same), even while product changes hands to fully meet demand elsewhere in the

 same market.

       For refrigerated product, like pre-filled tirzepatide and semaglutide injections,

 pharmacies may also have storage limitations that impact their stock on hand,

 regardless of the amount of supply available in the broader market. App. 35. After

 all, Lilly’s refrigerated tirzepatide medicines come in twelve dosage forms across two

 brands—meaning that a particular pharmacy may stock a limited variety of dosages

 simply because it does not have room to carry (and refrigerate) them all at once. App.

 35. By relying heavily on anecdotal reports of individual difficulties in obtaining

 product, the Plaintiff-compounders improperly conflated the inability to purchase

 GLP-1 RA medicines from a particular local pharmacy at a particular point in time

 with the unavailability of product in the broader market.

                                   CONCLUSION

       Unapproved      compounded    product   generally—and     compounded      GLP-1

 injections particularly—present increased safety risks. And Plaintiffs’ purported

 “evidence” was not evidence of a drug shortage. This Court should deny Plaintiffs’

 motion for a preliminary injunction.




                                        —23—
Case 4:24-cv-00953-P   Document 96   Filed 02/19/25   Page 31 of 32     PageID 1209



 February 19, 2025

                                        Respectfully submitted,

                                        /s/ Trevor Carolan

                                        Trevor Carolan (SBN 24128898)
                                        BOWMAN AND BROOKE LLP
                                        5850 Granite Parkway, Suite 900
                                        Plano, TX 75024
                                        Tel: (972) 616-1700
                                        Fax: (972) 616-1701
                                        trevor.carolan@bowmanandbrooke.com

                                        Benjamin C. Block (admitted pro hac vice)
                                        Thomas Brugato (admitted pro hac vice)
                                        Daniel G. Randolph (admitted pro hac vice)
                                        COVINGTON & BURLING LLP
                                        One City Center
                                        850 10th Street NW
                                        Washington, D.C. 20001
                                        Tel: (202) 662-6000
                                        Fax: (202) 662-6302
                                        bblock@cov.com
                                        tbrugato@cov.com
                                        drandolph@cov.com

                                        Counsel for Novo Nordisk Inc.




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Case 4:24-cv-00953-P    Document 96     Filed 02/19/25   Page 32 of 32     PageID 1210



                          CERTIFICATE OF SERVICE


       I hereby certify that, on February 19, 2025, I caused the foregoing document to

 be filed with the Clerk of the Court of the United States District Court for the

 Northern District of Texas using the Court’s CM/ECF system.


                                           /s/ Trevor Carolan
                                           Counsel for Novo Nordisk Inc.




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